             Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                 VALDOSTA DIVISION

 PIMPAKTRA RUST

         Plaintiff,

 vs.                                                CIVIL ACTION

 VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
 and THE BRYN MAWR TRUST
 COMPANY OF DELAWARE

         Defendants.


VINA ELISE RUST AND CHAKDHARI ANISSA RUST’S REPLY BRIEF IN SUPPORT
      OF ITS MOTION FOR JUDGMENT ON THE PLEADINGS, OR, IN THE
              ALTERNATIVE, MOTION TO STAY PROCEEDINGS

         COME NOW, Defendants Vina Elise Rust and Chakdhari Anissa Rust, Individually and

as Co-executors of the Estate of Richard C. Rust, Successor in interest as Executor of the Estate

of Philip G. Rust, Jr. (hereinafter “the Rust Defendants”), and file this, their Reply Brief in Support

of their Motion for Judgment on the Pleadings, or, in the Alternative, Motion to Stay Proceedings,

showing the Court as follows:

    I.        INITIAL REPLY

    Again, Plaintiff attempts to distinguish the instant case from the Delaware case where the two

are one and the same. She attempts to distinguish the two cases by stating in the Georgia case she

“seeks declaratory and injunctive relief limited to the Georgia real estate”, while in the Delaware

case she “seeks an accounting, dissolution of the LLC, and damages for breach of contract.”

PLAINTIFF’S RESPONSE [Doc. 18, pp. 7-8.]. Essentially, Plaintiff tries to make the argument that




                                                                                            1|Page
4870-8273-2040, v. 1
             Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 2 of 7




the Georgia case is about property, but the Delaware case is about whether Goodenow should

continue on as an entity. In reality, these are the exact same issues just framed a little differently.

    As an initial note, all parties agree title to Winnstead currently rests in Goodenow. There is no

controversy regarding the current ownership of Winnstead, therefore, this Court should dismiss

Plaintiff’s claim for declaratory judgment. The only controversy among the Rust Defendants and

Plaintiff is whether Goodenow should continue as an entity after RCR’s death. If Goodenow

should have dissolved after RCR’s death, Winnstead, would be conveyed to the sisters as tenants

in common. To the extent a controversy exists in the instant case, it is the continued existence

Goodenow. Therefore, at a minimum, this Court should stay the instant action until the Delaware

Court uses Delaware law to determine whether a Delaware limited liability company, which has a

Delaware choice of law provision, should be judicially dissolved.

    II.       Plaintiff’s Statement that Goodenow owns Winnstead is an Admission in Judicio.

    Interestingly, Plaintiff states that her own Verified words that Goodenow “owns a 100%

undivided interest in the ‘Winnstead Plantation’ property, consisting of 947.924 acres of land with

improvements, located on lots 165, 166, 167, 194, 195, and 196, 18th Land District on Lower Cairo

Road, Thomasville, Thomas County, Georgia” should not be considered in this case. Plaintiff

specifically declared, under penalty of perjury, that the facts contained in the Amended and

Supplemental Complaint were true and correct.1 As evidenced by Plaintiff’s own declaration,

Plaintiff knew which facts were contained in her Delaware Complaint.

    In determining whether an admission is an admission in judicio, a district court “should

consider whether the proposed admission was an admission of fact and the extent to which it was



1
  At the same time of filing this Reply Brief, the Rust Defendants have filed a Notice of Filing of
the Unsworn Declaration of Pimpaktra A. Rust as an Exhibit to the same. This Declaration should
have been included as part of Doc. 17-1; however, it was inadvertently left off of the initial filing.
                                                                                            2|Page
4870-8273-2040, v. 1
             Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 3 of 7




‘unequivocal, deliberate, clear, or unambiguous.’” In re Motors Liquidation Co., 957 F.3d 357,

360 (2d Cir. 2020). The relevant paragraph states:

         56. Goodenow now consists of three series: Series A-1, B-1, and C-1….

         c. Series C-1 owns a 100% undivided interest in the ‘Winnstead Plantation’
         property, consisting of 947.924 acres of land with improvements, located on lots
         165, 166, 167, 194, 195, and 196, 18th Land District on Lower Cairo Road,
         Thomasville, Thomas County, Georgia.

[Doc. 17-1].

         Courts should distinguish between admissions of fact and legal conclusions, but the

paragraph above is an admission of fact. It is a fact that Goodenow currently holds a 100%

undivided interest in Winnstead. Everyone agrees title rests in Goodenow. This fact does not speak

to the issue of whether Goodenow should have continued on as an entity after RCR’s death.

Goodenow’s continuation as an entity is not an issue for this Court. Put simply, there is no

controversy as to current ownership of Winnstead. Ownership currently rests in Goodenow.

Therefore, this case should be dismissed.

         Plaintiff also takes the position her own unequivocal statements do not amount to judicial

admissions because judicial admissions are not binding in “separate and subsequent cases.”

PLAINTIFF’S RESPONSE [Doc. 18, p.6]. What Plaintiff fails to realize is that the Georgia case and

the Delaware case, though pending in different courts are in essence the same case, happening

simultaneously. Surely it was not the intention of the 11th Circuit to allow a plaintiff to take one

position in one Court and then take a completely different position in another court once the

original case was not going their way. Plaintiff has unequivocally stated Goodenow owns

Winnstead. There is no controversy as to current ownership, whereby this Court should dismiss

the instant case.




                                                                                         3|Page
4870-8273-2040, v. 1
               Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 4 of 7




    III.       In the Alternative, this Action MUST Be Stayed.

    If any controversy exists between the parties, it is whether Goodenow should continue to exist

as an entity. See PLAINTIFF’S AMENDED COMPLAINT, ¶¶ 39-40 [Doc. 9, pp. 8-9] (“After RCR’s

death the Sisters appointed themselves as successor managers of the LLC, pursuant to section

4.1(c) of article IV of the Operating Agreement, holding authority limited to assisting with the

distribution of the Trust principal together with BMTC, and those administrative processes

associated with unwinding the LLC consistent with the terms of the Trust in accordance with the

Trust Agreement. The Operating Agreement anticipated and allowed for the termination of the

LLC by the LLC managers, Section VII (8). It also anticipated and allowed for judicial dissolution

if the LLC managers did not unwind and dissolve the LLC.”).2 Who should have ownership of

Winnstead moving forward (it is undisputed that current ownership rests in Goodenow) is

necessarily dictated by whether Goodenow should continue as an entity. If Goodenow is dissolved,

the sisters will receive title to Winnstead as tenants in common.

      Despite Plaintiff’s attempt to frame the instant matter as a Georgia case, the only relationship

this case has to Georgia is that Winnstead lies in Thomas County. To determine ownership moving

forward, a court must decide the following points:

              Whether the PGR Trust Agreement allowed RCR to distribute the property to his

               daughters how he saw fit;

              Whether RCR intended to distribute the property through distribution of membership

               interests in Goodenow; and




2
  The Rust Defendants deny the Trust Agreement calls for the unwinding of the LLC. ANSWER
[Doc. 12, ¶39]. The Rust Defendants deny the Operating Agreement anticipated and allowed for
the termination of the LLC by the LLC managers. Id. ¶40.
                                                                                           4|Page
4870-8273-2040, v. 1
             Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 5 of 7




             Whether the Goodenow Operating Agreement called for dissolution after Goodenow’s

              death.

As stated previously, the PGR Trust Agreement and the Goodenow LLC Agreement are governed

by Delaware law. The Delaware Court should decide these issues.

         Plaintiff states “[a] stay of this case would do nothing other than prevent Plaintiff from

obtaining the relief to which she is entitled as it concerns the Property.” Plaintiff’s Response [Doc.

18, p. 8]. However, Plaintiff has failed to rebut the fact that resolution of the Delaware case will

necessarily mean a determination as to ownership moving forward of Winnstead. Additionally,

Plaintiff states that the fact that the Delaware action is further along makes “a strong argument in

favor of not staying this case”. Id. However Plaintiff fails to give any explanation as to why this

would be the case. The Delaware action is set for trial in April. Because the Delaware case would

resolve any alleged controversies in the instant case, it only makes sense that this case should be

stayed in order to preserve judicial resources.

              IV.      Conclusion

    This Court should dismiss the instant case as there is no controversy as to current ownership.

In the event the Court determines not to dismiss the instant action, a stay is both appropriate and

necessary.

Respectfully submitted this 3rd day of January, 2022.

 109 S. Ashley Street                                COLEMAN TALLEY LLP
 Valdosta, GA 31601
 (229) 242-7562
 (229) 333-0885 facsimile                            /s/ Gregory T. Talley
 Greg.talley@colemantalley.com                       Gregory T. Talley
 Beau.howell@colemantalley.com                       Georgia Bar No. 696705
 Kayla.barnes@colemantalley.com                      A.A. Howell, IV
                                                     Georgia Bar No. 689955
                                                     Kayla H. Barnes
                                                     Georgia Bar No. 301948
                                                                                           5|Page
4870-8273-2040, v. 1
             Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 6 of 7




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

 PIMPAKTRA RUST

         Plaintiff,

 vs.                                             CIVIL ACTION

 VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
 and THE BRYN MAWR TRUST
 COMPANY OF DELAWARE

         Defendants.


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he has this day mailed a copy of the foregoing VINA
ELISE RUST AND CHAKDHARI ANISSA RUST’S REPLY BRIEF IN SUPPORT OF ITS
MOTION FOR JUDGMENT ON THE PLEADINGS, OR, IN THE ALTERNATIVE,
MOTION TO STAY PROCEEDINGS in an envelope properly addressed and with sufficient
postage thereon for delivery, to:


                                     Frank Faison Middleton, IV
                                         Watson Spence LLP
                                           P.O. Box 2008
                                       320 W. Residence Ave.
                                     Albany, Georgia 31702-2008

                                         Danielle C. Le Jeune
                                  1230 Peachtree Street NE, Suite 400
                                          Atlanta, GA 30309
               rd
         This 3 day of January, 2022.




                                                                                     6|Page
4870-8273-2040, v. 1
             Case 7:21-cv-00105-HL Document 21 Filed 01/03/22 Page 7 of 7




 109 S. Ashley Street                       COLEMAN TALLEY LLP
 Valdosta, GA 31601
 (229) 242-7562
 (229) 333-0885 facsimile                   /s/ Gregory T. Talley
 Greg.talley@colemantalley.com              Gregory T. Talley
 Beau.howell@colemantalley.com              Georgia Bar No. 696705
 Kayla.barnes@colemantalley.com             A.A. Howell, IV
                                            Georgia Bar No. 689955
                                            Kayla H. Barnes
                                            Georgia Bar No. 301948




                                                                            7|Page
4870-8273-2040, v. 1
